Case 2:04-md-01551-.]DB-tmp Document 152 Filed 06/13/05 Page 1 of 3 Page|D 100

   

Fn.Eo ar __ __”_, o.o.

IN THE UNiTED sTATEs DISTRICT COURT

FOR THE wESTERN DISTRICT oF TENNESSEE§ 355-l 1 3 pa 3= 3a
wESTERN DivlsloN

RC)BEF".T r§ {.`)i 'i`ii€l`)`i..lf}
In re CLE§'~?E{, U ll DiS'E’. CT.
_ "-HD. UF Tl‘-i, wilfmi:)§*il$

Master F1le No. MDL 1551

REClPROCAL OF AMERICA (ROA)

SALES PRACTICES LITIGATION This Document Relates to:
Civil Action No. 03-2696
Civil Action No. 03-2705

 

ORDER REMOVING AS PENDING PROPOSALS FOR INITIAL CASE
MANAGEMENT ORDER

 

Pending on the Court‘s docket are the proposals of certain Defendants in this matter for an
initial case management order, which was entered by the Court in the lead case on Novernber 16,
2004. Aecordingly, the Clerk of Court is directed to remove from pending Status the following

l.5
motions: No. 03-2696 (Doo. No. 14), No. 03-2705 (Doc. No.*S-l).

I;T IS So oRDERED this l'$gday cf e, 2005.
t E \

J. DFNI”L BREEN
UN ran sTATEs DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 152 in
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ESSEE

 

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Case 2:04-md-01551-.]DB-tmp Document 152 Filed 06/13/05 Page 3 013 Page|D 102

Honorable J. Breen
US DISTRICT COURT

